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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 14-cr-00231-WJM-1

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 1.     RICKY GARRISON,

            Defendant.
 ______________________________________________________________________

                 GOVERNMENT=S AMENDED WITNESS LIST
                 FOR TRIAL BEGINNING FEBRUARY 21, 2017
 ______________________________________________________________________

        The United States of America, by Acting United States Attorney Robert C. Troyer,

 and the undersigned Assistant United States Attorneys, respectfully submits the attached

 witness list that the Government intends to offer at the trial scheduled in this matter

 beginning February 21, 2017, at 8:30 A.M. The parties have met and conferred and

 agree that the estimated time(s) for each witness is the best estimate the parties have

 concerning each witness.
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       Respectfully submitted this 16th day of February, 2017.

                                               Respectfully Submitted,

                                               ROBERT C. TROYER
                                               ACTING UNITED STATES ATTORNEY
                                               DISTRICT OF COLORADO

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                               CERTIFICATE OF SERVICE

         I hereby certify that on this 16th day of February, 2017, I electronically filed the
 foregoing GOVERNMENT=S AMENDED WITNESS LIST FOR TRIAL BEGINNING
 FEBRUARY 21, 2017 using the CM/ECF system which will send notification of such filing
 to all counsel of record in this case.



                                           s/Maggie E. Grenvik
                                           Maggie E. Grenvik
                                           Legal Assistant




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